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FILED
DEC 19 2024

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, 5 s o4& CR 0 0 4 7 8
Vv. } CASENO.
} Title 18, United States Code,
MARSHALL CLUTE, } Sections 2252(a)(2) and
) 2252A(a)(5)(B)
Defendant. }
JUDGE BARKER
COUNT 1

(Receipt and Distribution of Visual Depictions of Real Minors Engaged in Sexualiy Explicit
Conduct, 18 U.S.C. § 2252(a)(2))

The Grand Jury charges:

1. From on or about December 1, 2022, through on or about March 20, 2024, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendant MARSHALL CLUTE,
did knowingly receive or distribute, using any means and facility of interstate and foreign
commerce, numerous computer files, which files contained visual depictions of real minors
engaged in sexually explicit conduct, and which files had been shipped and transported in and
affecting interstate and foreign commerce, as defined in Title 18, United States Code, Section
2256(2), in violation of Title 18, United States Code, Section 2252(a\(2).

COUNT 2
(Possession of Child Pornography, 18 U.S.C. § 2252A(a)(S)\(B))

The Grand Jury further charges:
2. On or about March 21, 2024, in the Northern District of Ohio, Eastern Division,

Defendant MARSHALL CLUTE, did knowingly possess an electronic device, including but not
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limited to, a Blue Product cellphone, model F91 5G, SN: 1100305022001066, that contained
child pornography, as defined in Title 18, United States Code, Section 2256(8), which child
pornography had been shipped and transported in interstate and foreign commerce by any means,
including by computer, and at least one image involved in the offense involved a prepubescent
minor or a minor who had not attained 12 years of age, in violation of Title 18, United States

Code, Section 2252A(a)(5\B).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
